           Case 18-19441-EPK         Doc 347       Filed 11/29/18    Page 1 of 8



                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

In re                                               Case No.: 18-19441-BKC-EPK

160 ROYAL PALM, LLC,                                Chapter 11

        Debtor.                                /

                  SECURED CREDITOR KK-PB FINANCIAL, LLC’S
                        NOTICE OF FILING SUBPOENA

        Secured Creditor, KK-PB Financial, LLC, gives notice of filing of subpoena as to Halil
Erseven c/o David J. George, Esq., George Gesten McDonald, PLLC, 9897 Lake Worth Road,
Suite 302, Lake Worth, FL 33467. A true and correct copy of the Subpoena is attached hereto
as Exhibit A.


 Dated: November 29, 2018               Respectfully submitted,

                                        SALAZAR LAW
                                        Counsel for Secured Creditor, KK-PB Financial, LLC
                                        2000 Ponce de Leon Boulevard, Penthouse Suite
                                        Coral Gables, Florida 33134
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                                        Email: Luis@Salazar.Law
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                                        By:     /s/ Luis Salazar
                                                 Luis Salazar
                                                 Florida Bar No. 147788
                                                 Celi S. Aguilar
                                                 Florida Bar No. 117589
          Case 18-19441-EPK             Doc 347   Filed 11/29/18    Page 2 of 8



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this day, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the foregoing is being served
this day on all parties identified on the Service List attached to the original hereof via
transmission of Notices of Electronic Filing generated by CM/ECF, electronic mail and/or by
Process Server, as indicated thereon.



                                              By:     /s/ Luis Salazar
                                                    Luis Salazar
           Case 18-19441-EPK             Doc 347    Filed 11/29/18       Page 3 of 8



                                           SERVICE LIST


ELECTRONIC MAIL NOTICE LIST:
(Via CM/ECF)

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           Case 18-19441-EPK      Doc 347   Filed 11/29/18   Page 4 of 8




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Case 18-19441-EPK   Doc 347   Filed 11/29/18   Page 5 of 8




         EXHIBIT A
Case 18-19441-EPK   Doc 347   Filed 11/29/18   Page 6 of 8
Case 18-19441-EPK   Doc 347   Filed 11/29/18   Page 7 of 8
Case 18-19441-EPK   Doc 347   Filed 11/29/18   Page 8 of 8
